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       ORDERED in the Southern District of Florida on March 14, 2024.




                                                 Robert A. Mark, Judge
_____________________________________________________________________________
                                                 United States Bankruptcy Court


                                   UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                            MIAMI DIVISION

       In re:
       Ruben Dario Rivas                                           Case No.: 23-13532-RAM
                                                                   Chapter 13
                      Debtor(s).
                                        /

                   ORDER GRANTING DEBTOR’S EXPEDITED MOTION TO INCUR
                      ADDITIONAL SECURED DEBT TO PURCHASE VEHICLE

              THIS CAUSE having come before the court on the Chapter 13 consent calendar on March
       12, 2024 at 9:00 a.m. for a hearing on the Debtor’s Expedited Motion to Incur Additional Secured
       Debt to Purchase Vehicle (ECF 56). Based upon the record and with no party having appeared in
       opposition to the Motion, it is ORDERED as follows:

              1.      The Debtor’s Expedited Motion is GRANTED. The Debtor is permitted to incur
       additional secured debt in the form of motor vehicle financing with I Need A Car Miami/Westlake
       Financial for the purchase of a 2015 Jeep Wrangler VIN: 1C4AJWAG0FL746455, at the terms
       attached to the underlying motion. The Debtor is further permitted to execute any and all documents
       necessary to purchase the vehicle.

              2.      The Debtor agrees not to modify the plan to reduce the 100% distribution to
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unsecured creditors.

                                                ###

Submitted by:
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(954) 349-2265

Copies furnished to:
Debtors’ Attorney Nowack is directed to mail a conformed copy of this Order to all interested parties
immediately upon receipt.
